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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF OHIO
EASTERN DIVISION




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 -                                                   :
 UNITED STATES OF AMERICA                            : CASE NO. 1:06CR565
                                                     :
                                         Plaintiff   :
                                                     :
                       -vs-                          :
                                                     : ORDER ACCEPTING PLEA AGREEMENT
 JONATHAN STEELE                                     : AND JUDGMENT AND NOTICE OF
                                                     : HEARING
                                      Defendant      :
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 -


UNITED STATES DISTRICT JUDGE LESLEY WELLS


       This case is before the Court on a Report and Recommendation filed by United

States Magistrate Judge Nancy A. Vecchiarelli regarding the change of plea hearing and

plea agreement of Jonathan Steele which was referred to the Magistrate Judge with the

consent of the parties.

       On 6 December 2006, the government filed a two-count indictment against

Jonathan Steele for conspiracy to distribute cocaine base and cocaine and distribution

of cocaine base in violation of 21 U.S.C. Sections 846, 841(a)(1), and 841(b)(1)(C). On

26 December 2006, a hearing was held in which Jonathan Steele entered a plea of not

guilty before Magistrate Judge David S. Perelman, waived his right to a detention

hearing and executed a waiver. On 27 February 2007, Magistrate Judge Vecchiarelli
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received Jonathan Steele’s plea of guilty and issued a Report and Recommendation

(“R&R”) concerning whether the plea should be accepted and a finding of guilty

entered.

       Neither party submitted objections to the Magistrate Judge's R&R in the ten days

after it was issued.

       On de novo review of the record, the Magistrate Judge's R&R is adopted.

Jonathan Steele is found to be competent to enter a plea. He understands his

constitutional rights. He is aware of the charges and of the consequences of entering a

plea. There is an adequate factual basis for the plea. The Court finds the plea was

entered knowingly, intelligently, and voluntarily. The plea agreement is approved.

       Therefore, Jonathan Steele is adjudged guilty of Count One in violation of 21

U.S.C. Section 846.

       Sentencing will be:

                       4 June 2007 at 9:30 a.m.

                       Courtroom 19-A
                       19th Floor, United States District Court
                       801 West Superior Avenue
                       Cleveland, Ohio 44113


       IT IS SO ORDERED.



       Dated: 19 March 2007                    /s/Lesley Wells
                                                UNITED STATES DISTRICT JUDGE




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